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    6 Darshan Singh, Sherbir Sant, Surinder-Pal Arora, Santokh Arora, and Pacific
      Hospitality, LLC, a Texas limited liability company
    7
                             UNITED STATES DISTRICT COURT
    8
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
    9
      MANMOHAN CHHABRA;                          ) CASE NO. CV 2:11-03724 RGK (VBKx)
   10 PARSHOTAM KAMBOJ; RANJIT                   )
      SINGH; DARSHAN SINGH; SHERBIR ) [PROPOSED]
   11 SANT; SURINDER-PAL ARORA;                  ) ORDER GRANTING VOLUNTARY
      SURINDER-PAL ARORA; SANTOKH ) DISMISSAL WITH PREJUDICE
   12 ARORA; and PACIFIC HOSPITALITY, ) WITH COURT RETAINING
      LLC, a Texas limited liability company; ) JURISDICTION TO ENFORCE
   13                                            ) SETTLEMENT
                                                 )
   14               Plaintiffs,                  )
                                                 )
   15       vs.                                  )
                                                 )
   16 MEHUL PATEL aka MIKE PATEL;                )
      CHIRAG PATEL aka CHUCK PATEL; )
   17 JAGMOHAN DHILLON; SAGESTAR )
      MANAGEMENT GP, LLC, a Texas                )
   18 limited liability company; SAGESTAR )
      HOLDINGS, LTD, a Texas limited             )
   19 partnership; DENISON LODGING,              )
      LLC, a Texas limited liability company; )
   20 CORSICANA LODGING, LLC, a Texas )
      limited liability company; and DOES 1 )
   21 through 100, inclusive,                    )
                                                 )
   22               Defendants.                  )
                                                 )
   23
   24          Based on the Stipulation for Voluntary Dismissal With Prejudice entered
   25 into between Plaintiffs Manmohan Chhabra, Parshotam Kamboj, Ranjit Singh,
   26 Darshan Singh, Sherbir Sant, Surinder-Pal Arora, Santokh Arora, and Pacific
   27 Hospitality, LLC, a Texas limited liability company and Defendants Mehul (a.k.a.
   28 Mike) Patel, Chirag (a.k.a. Chuck) Patel, Sagestar Management GP, LLC, Sagestar
                                             -1-
         ORDER GRANTING VOLUNTARY DISMISSAL WITH PREJUDICE WITH COURT RETAINING
         JURISDICTION TO ENFORCE SETTLEMENT
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     1 Holdings, Ltd., Newcrest Hotels, Ltd., Denison Lodging, LLC, Corsicana Lodging,
     2 LLC, and Ennis Lodging, LLC and Jagmohan Dhillon
     3         IT IS HEREBY ORDERED THAT:
     4         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the Second
     5 Amended Complaint as well as any and all remaining cross-claims and
     6 counterclaims in the above-entitled action are hereby dismissed with prejudice,
     7 except that this Court shall retain jurisdiction over the parties and the action to
     8 enforce the terms of parties’ settlement agreement and to resolve any dispute that
     9 arises under the settlement agreement. Each party shall bear its own costs and
   10 attorneys’ fees.
   11          IT IS SO ORDERED.
   12
   13 Dated: January 6, 2012                    ___________________________________
                                                HONORABLE R. GARY KLAUSNER
   14                                           UNITED STATES DISTRICT JUDGE
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                                                 -2-
         ORDER GRANTING VOLUNTARY DISMISSAL WITH PREJUDICE WITH COURT RETAINING
         JURISDICTION TO ENFORCE SETTLEMENT
